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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                Case No. 1:16-cv-22090-KMM

  SHEHAN WIJESINHA,
  individually and on behalf of all others
  similarly situated,

         Plaintiff,

  v.

  DIRECTV, LLC,

         Defendant.
                                                 /

                      ORDER DENYING MOTION FOR RECONSIDERATION
         THIS CAUSE came before the Court upon Plaintiff’s Motion for Reconsideration (the

  “Motion”) (ECF No. 21) of the Court’s Order Granting Motion to Compel Arbitration (the

  “Order”) (ECF No.19). Defendants filed a Response (ECF No. 22) and Plaintiff filed a Reply

  (ECF No. 27). Plaintiff also filed a Notice of Supplemental Authority (ECF No. 29). For the

  reasons that follow, the Motion is DENIED.

         The applicable standard for a motion for reconsideration is that the moving party must

  demonstrate why the court should reconsider its prior decision and set forth facts or law of a

  strongly convincing nature to induce the court to reverse its prior decision. A motion for

  reconsideration should raise new issues, not merely address issues litigated previously. Socialist

  Workers Party v. Leahy, 957 F. Supp. 1262, 1263 (S.D. Fla. 1997) (internal quotation and

  citations omitted). Courts have distilled three major grounds justifying reconsideration: (1) an

  intervening change in controlling law; (2) the availability of new evidence; and (3) the need to

  correct clear error or manifest injustice. Cover v. Wal-Mart Stores, Inc., 148 F.R.D. 294, 295

  (M.D. Fla. 1993) (citations omitted).
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          Here, Plaintiff argues that reconsideration is warranted because: (1) the Court’s analysis

  of Andermann v. Sprint Spectrum, LP, 785 F.3d 1157 (7th Cir. 2015) is incorrect and in fact

  supports denial of the motion to compel arbitration; and (2) “new authority supports the

  proposition that overly broad arbitration clauses are not perpetual in their application to disputes

  unrelated to the underlying agreement.” See Motion at 1-2. The new authority cited by Plaintiff

  in support of the Motion is a case recently decided in the Eastern District of New York, Wexler v.

  AT&T Corp., 15-CV-0686 (FB) (PK), 2016 WL 5678555 (E.D.N.Y. Sept. 30, 2016), and a case

  recently decided by the Court of Appeals for the Sixth Circuit, Stevens-Bratton v. Trugreen, Inc.,

  No. 16-5161, 2017 U.S. App. LEXIS 632 (6th Cir. Jan. 11, 2017).

          Upon consideration of the Motion, the pertinent portions of the record, and being

  otherwise fully advised in the premises, the Court finds that neither of Plaintiff's arguments

  satisfies any of the three grounds upon which a motion for reconsideration should be granted.

  Accordingly, the Motion for Reconsideration is hereby DENIED.

          DONE AND ORDERED in Chambers at Miami, Florida, this ____
                                                               2nd day of February,

  2017.


                                                        Kevin Michael             Digitally signed by Kevin Michael Moore
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                                                                                  email=k_michael_moore@flsd.uscourts.gov,
                                                        Moore                     cn=Kevin Michael Moore
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                                                       ________________________________
                                                       K. MICHAEL MOORE
                                                       UNITED STATES DISTRICT JUDGE

  c:      All counsel of record




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